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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

REGINALD LANGSTON LUSTER


vs.                                     Case No: 4:19-cv-541-MW-MJF


SECRETARY, FLORIDA
DEPARTMENT OF CORRECTIONS
___________________________________/

             NOTICE OF APPEARANCE AS LEAD COUNSEL

      Comes Now WILLIAM MALLORY KENT to file this notice of appearance

as Lead counsel for the Petitioner, Reginald Langston Luster, in the above styled

matter.

                                     Respectfully submitted,

                                     KENT & McFARLAND
                                     ATTORNEYS AT LAW

                                     s/William Mallory Kent
                                     William Mallory Kent
                                     Florida Bar No. 0260738
                                     24 North Market Street
                                     Suite 300
                                     Jacksonville, FL 32202
                                     (904) 398-8000
                                     (904) 348-3124 FAX
                                     (904) 662-4419 Cell Phone
                                     kent@williamkent.com
                                     COUNSEL FOR LUSTER
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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 3, 2021, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice

of electronic filing to the following counsel of record:

      Thomas Howland Duffy                    Joseph Hamrick
      thomas.duffy@myfloridalegal.com         joseph.s.hamrick@gmail.com


      I hereby certify that on December 3, 2021, a true and correct e-filed copy of

the foregoing has been furnished by United States mail, postage prepaid, to the

following:

                    Reginald Luster
                    N28410
                    Lawtey CI
                    P. O. Box 2000
                    Lawtey, FL 32058


                                        s/William Mallory Kent
                                        William Mallory Kent
